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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


ATLANTIC RECORDING                        :
CORPORATION, et al.,                      :
                                          :
       Plaintiff,                         :
                                          :
v.                                        :         CIVIL ACTION NO.
                                          :          1:17-cv-00431-AT
SPINRILLA, LLC, and JEFFERY               :
DYLAN COPELAND,                           :
                                          :
       Defendants.                        :

                                      ORDER

      This is an all-out, knock-down, drag-out fight between the “800-pound

Gorilla” of the recording industry in one corner of the room vs. “Spinrilla” the self-

proclaimed “800-pound Gorilla of free hip-hop mixtapes” in the other corner.

Plaintiffs, a collection of the largest record companies in the country, have sued the

owner and operator of the music streaming website and app, “Spinrilla,” for the

alleged infringement of thousands of Plaintiffs’ sound recordings.         Plaintiffs,

through the Recording Industry Association of America, Inc., undertook an

investigation of the Spinrilla online music streaming/download service.

Defendants accuse Plaintiffs of hiding the data resulting from this investigation,

lying to the Court about its existence, and improperly asserting the work product

privilege to prevent further disclosure of their misdeeds. As a sanction, Defendants
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seek dismissal of Plaintiffs copyright infringement claims, or several alternative

lesser sanctions.

       Plaintiffs in turn accuse Defendants of withholding tens of thousands of

documents responsive to Plaintiffs’ discovery requests and seek to compel an order

from the Court requiring Defendants to comply with their discovery obligations.

       In the midst of this mudslinging, Defendants also filed a motion for

summary judgment, asserting Plaintiffs lack any evidence that Defendants

engaged in copying of Plaintiffs’ sound recordings.         Finally, Plaintiffs seek leave

to amend their Complaint to include an additional 2,000 songs in their list of the

alleged infringed sound recordings made available for streaming and/or download

on Spinrilla.

I.     Defendants’ Motion for Sanctions [Doc. 100]1

       Defendants’ Motion for Sanctions centers on Plaintiffs’ failure to disclose

earlier in discovery the existence of and produce spreadsheets containing the

results of Plaintiffs’ detailed investigation into Spinrilla’s alleged infringement of

songs for which Plaintiffs claim to own valid copyrights. Defendants assert that

Plaintiffs lied to this Court about the extent of their access to information on the

Spinrilla website. This lie, Defendants’ contend, was manufactured to convince

this Court to provide Plaintiffs with complete unfettered access to Spinrilla’s

internal database and program source code, and to allow them to add thousands



1The Court GRANTS Plaintiffs’ Motion for Leave to File Surreply in Opposition to Defendants’
Motion for Sanctions [Doc. 146].

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of additional allegedly infringed sound recordings to their Complaint. And the

effect of this lie, according to Defendants’ motion, has been to completely derail

discovery and ultimately this litigation.

      Plaintiffs in response admit that “it was an overstatement to analogize their

investigative capacities to those of an ordinary user, to whom automated evidence

collection processes may not be available.” (Resp., Doc. 130.) But Plaintiffs

contend that Defendants’ motion greatly exaggerates the issue.

      Defendants seek as a sanction the dismissal of Plaintiffs' Complaint.

Alternatively, Defendants request that Plaintiffs not be allowed to (1) further add

to the list of sound recordings they claim have been infringed, or (2) offer Mr.

Linares’s testimony or use any information from their investigation at trial.

      A. Background

      The RIAA Investigation

      Prior to filing this lawsuit, Plaintiffs hired the Recording Industry

Association of America, Inc. (RIAA) to conduct an investigation into online

infringement of the Plaintiffs' copyrighted sound recordings on Spinrilla. (See

generally, Declaration of Carlos Linares, Doc. 42-3.) Plaintiffs rely on the findings

of this investigation in support of a Motion for Partial Summary Judgment

previously filed on July 28, 2017. Carlos Linares, Vice President, Anti-Piracy Legal

Affairs for the RIAA, began the investigation into Spinrilla, referred to as the

"Repeat Infringer Study," in the spring of 2016. (Linares Decl. ¶ 5.) Linares and

his team identified hundreds of sound recordings, uploaded by "DJs" on


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"mixtapes," that were identical or near identical copies of Plaintiffs' copyrighted

sound recordings. (Id. ¶¶ 12-15.)

      The Parties' Discovery Disputes

      In August 2017, late in the discovery period, the parties raised multiple

contentious discovery disputes. Plaintiffs sought a broad swath of information,

including complete access to the Spinrilla computer program and database, an

executable copy of the computer program source code, as well as access to the

universe of sound recordings available on the Spinrilla service.       Defendants

obviously opposed these requests.

      The Court held a lengthy hearing on August 16, 2017 to address the parties'

disputes. At the hearing, Plaintiffs' counsel represented that while they were

waiting for Defendants to produce the logs and databases that would indicate the

various sound recordings accessible on Spinrilla, Plaintiffs had been engaging in a

sort of "manual hunting trying to find more infringements." (August 18, 2017 Tr.,

Doc. 52 at 8.) Through their own search methods, Plaintiffs indicated they had

located thousands of infringing sound recordings.

      The Court issued an Order on August 28, 2017, limiting much of the

discovery sought by Plaintiffs, but requiring Defendants to:

      (1)   provide Spinrilla user data reports showing the downloading and/or
            streaming of copyrighted content on the Spinrilla site, including any
            data analytics maintained by Defendants by user, produce any
            monthly and annual data reports that exist or may be produced based
            on existing software capacity that provide information on the number
            of customer downloads of identifiably copyrighted material –
            specifically the songs identified by Plaintiffs in their Complaint, and


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            to produce a report on the total number of song downloads (to the
            extent the information was retained by and was available to
            Defendants);
      (2)   produce “reports showing the activity between Audible Magic and
            Spinrilla” that will go to the efficacy of Defendants’ “implementation
            of Audible Magic” to block infringing content from being uploaded
            onto the Spinrilla site, along with any other reports and other
            documents that exist that Defendants contend show how the Spinrilla
            system works or that replace the need for the source code;
      (3)   produce, as agreed, the text version of the source code as it relates to
            the implementation of Audible Magic; and
      (4)   identify what other reports Defendants routinely create or produce
            that reflect statistical reporting on upload or download activity by
            song, user, or DJ to describe the information available on such
            reports, and to to search for and produce such reports.

(See August 28, 2017 Order, Doc. 58.) The Court granted Plaintiffs leave to depose

Dylan Copeland, the owner/operator/programmer of Spinrilla, regarding

Spinrilla’s software operations in connection with the detection, blocking, and

reporting of copyrighted material and the implementation of Spinrilla’s software

interface with Audible Magic. It additionally directed Defendant Copeland to be

prepared to provide deposition testimony regarding the statistical reports ordered,

or other efforts undertaken by Defendants to retain or track this type of

information.

      Less than a month later, the parties were back before the Court again. The

Court held another hearing on September 19, 2017, where Plaintiffs were again

requesting access to the Spinrilla source code and the database of sound recordings

on the Spinrilla site. Plaintiffs, however, failed to take the deposition of Mr.

Copeland as allowed by the Court as a substitute for the full access to the source

code and database.


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       In persisting in their request for access to the Spinrilla database to

determine the extent of alleged infringement, Plaintiff's counsel engaged in the

following exchange with the Court:

       MR. DOROSHOW: Your Honor, the simple solution to this problem is if we
       have the database, the database would have the universe of sound
       recordings. Once we have the database, we will know what is on the system.

       THE COURT: Well, what do you say to [Defense Counsel] saying you already
       have access to the database because you have the sign-in?

       MR. DOROSHOW: We have as much access to the database as Your Honor
       would have to YouTube. For you to know exactly what is on YouTube, you
       would have to sit in front of a computer and enter search queries at random
       to try to find out what is on there. That is the problem . . . The only entity
       who knows what is on the system here is Spinrilla. We have found what we
       found through the process of reviewing the website as best we can from the
       outside looking in. But that is not a fair substitute for the actual data that
       will tell us what is on the website.

(September 19, 2017 Tr., Doc. 87 at 52.) According to their counsel, Plaintiffs were

able to find an additional 2,000 infringing sound recordings "on [their] own in the

blind." (September 19, 2017 Transcript, Doc. 87 at 10.)

       The Court declined to order Defendants to open up the entire internal

database to Plaintiffs, but ordered Defendants' counsel to determine what

information, in addition to a list of the titles of all sound recordings available on

Spirilla, Defendants could provide to Plaintiffs.2            (September 19, 2017 Transcript,


2Plaintiffs indicated they were " happy to take this in steps, Your Honor, and work with the names
-- track name, title name -- track name, artist, length, the metadata. Not the file itself. He doesn't
have to produce 1.1 million MP3 files to us. But the metadata for what is on the system, which is
the track, the title, the artist name, the album name if it is available, the track length. The things
that would indicate what the track purports to be. And then we could go through that list. And if
we identify works that are owned by our clients, we could then say, okay, we want the MP3 files
for these to confirm that they are what they purport to be. That would be a reasonable process."
(September 19, 2017 Transcript, Doc. 87 at 59.)

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Doc. 87 at 60-62.) The Court also ordered Plaintiffs to proceed with the deposition

of Mr. Copeland in an effort to gain the information Defendants had been unable

to provide in the form of reports and other documentation (because they claimed

that such documentation was not reproducible). (September 19, 2017 Transcript,

Doc. 87 at 40, 55.)

      At the time the Complaint was filed, Plaintiffs included a list of 210

infringing recordings, but indicated they intended to supplement and anticipated

the number to rise to nearly 12,000 recordings. In the meantime, Plaintiffs had

moved to amend their Complaint to add an additional 2,000 sound recordings as

being subject to claims of infringement by Defendants. In response to Plaintiffs’

stated plans at the hearing to continually increase the number of alleged infringing

sound recordings at issue in the litigation, Defendants requested that the Court set

a deadline for Plaintiffs to amend their Complaint to finalize the number. The

Court allowed the amendment to include the additional 2,000 songs identified in

the proposed amendment. The Court indicated that there needed to be a deadline

for further amendments by Plaintiffs to include additional sound recordings, but

declined to set such a deadline until there was more information from Defendants

about the universe of sound recordings available on Spinrilla.

      The Deposition of Carlos Linares

      Three days after the hearing on September 22, 2017, Defendants took the

deposition of Carlos Linares who led the Plaintiffs' investigation into Spinrilla. Mr.

Linares admitted, contrary to Plaintiffs' counsels' representations in Court, that


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since September 2016 RIAA had been using automated computer processes to

collect as much data as possible from Spinrilla. (Deposition of Carlos Linares, Doc.

102-5 at 79-80 (testifying that RIAA obtained data on the sound recordings on

Spinrilla using an automated process and that "technology was applied to obtain

that data"). More specifically, Mr. Linares testified that RIAA used an automated

process to obtain and compile information from Spinrilla on three occasions. First,

in September 2016, RIAA used an automated process to collect as much data from

Spinrilla concerning the mixtapes available on the site at that time. (Id. at 75, 79,

81, 85-89, 97-98, 99-100.)       Second, in October 2016, RIAA used another

automated process to collect data concerning only those individual tracks

(collected from the mixtapes in September 2016) based on artist and title identified

in each file name to compare to a set of Plaintiffs’ copyrighted sound recordings.

(Id. at 98-100, 183, 228.) Third, in July, 2017 RIAA collected additional data for

sound recordings credited to certain DJs whom RIAA had identified as repeat

infringers. (Id. at 117-118.)

      The data obtained by RIAA included the name of a given mixtape, the

identity of a DJ credited with uploading that mixtape, stream counts for that item,

download counts for that item, the tracks included on that mixtape, track lengths,

and downloaded MP3 audio files. (Id. at 79, 86, 88, 100, 120.) Mr. Linares testified

that this information was compiled into multiple spreadsheets and given to

Plaintiffs' counsel. (Id. at 59-60, 88-107, 119-20, 206.) When asked by Defendants

during the deposition whether these spreadsheets had been produced, Plaintiffs


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claimed they had not because they contained protected work product. (Id. at 152.)

Plaintiffs’ counsel also made several objections to and instructed Mr. Linares not

to offer certain testimony about the repeat infringer study on the grounds that

Defendants’ questions “touched on” or called for information subject to privilege

and work product protection. (Linares Dep. at 103, 105, 165.)

      Nevertheless, Plaintiffs agreed to produce the spreadsheets during the

Linares deposition for the purpose of “moving forward” and “giving Defendants

the information they wanted,” subject to an agreement that by providing the

documents the RIAA and Plaintiffs had not waived the work product privilege with

respect to other documents. (Id. at 214-15.) Plaintiffs’ counsel still maintained the

spreadsheets constituted work product but were willing to provide them in the

spirit of cooperation. (Id.) Plaintiffs produced three spreadsheets, one each for

the data obtained in September 2016, October 2016, and July 2017. (Id. at 215.)

According to Defendants, the spreadsheets had been redacted, i.e. only certain

columns within the spreadsheet were shown while other columns appeared to be

hidden/missing from view.

      At the time Defendants filed their Motion for Sanctions on October 3, 2017,

Plaintiffs had refused Defendants' request for a privilege log for information

redacted from the spreadsheets. As noted during the September 19, 2017 hearing




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before the Court, the parties had previously agreed not to undergo the burden and

expense of creating and producing privilege logs.3

       Defendants filed a Supplemental Brief in Support of their Motion for

Sanctions on October 11, 2017. (Supp. Br., Doc. 114.) According to Defendants,

after they filed their Motion for Sanctions, Plaintiffs (Sony, Warner, and UMG)

served additional interrogatory responses containing data from the RIAA

spreadsheets.4 (Id. at 2; see also Pls.' October 4, 2017 Certificate of Service of

Discovery, Doc. 104.) The data produced on October 4th in response to Defendants'

Second Interrogatories included URLs for the 210 sound recordings identified in

Plaintiffs' original Complaint and the 2,100 additional sound recordings identified

in Plaintiffs' October 2, 2017 Amended Complaint. According to Plaintiffs, the

October 4th spreadsheet is the “RIAA’s working master spreadsheet.” (Pls.’ Resp.,

Doc. 130 at 19.)

       On October 23, 2017, Plaintiffs produced a privilege log identifying a total of

68 spreadsheets (65 in addition to the 3 spreadsheets that were produced during

Mr. Linares's deposition) that had been withheld (in full or in part) from

discovery.5 (See Ex. A to Reply, Doc. 132-1.) According to Plaintiffs, the additional

65 spreadsheets referenced on the Privilege Log are protected work product.


3 Defendants do not dispute this representation by Plaintiffs (made both at the hearing and in
their Response brief).
4 Defendants imply that this information was not timely produced and was served as a

supplemental response to interrogatories. Plaintiffs state that spreadsheet produced on October
4, 2017, was produced in response to Defendants’ Second Interrogatories served on August 25,
2017, and therefore was timely produced. (Pls.’ Resp., Doc. 130 at 25.)
5 Defendants asserted in their Reply that the Privilege Log identifies 65 additional spreadsheets

of information on Spinrilla dating back to 2015. (See Ex. A to Reply, Doc. 132-1.) However,

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       Defendants filed their Motion for Sanctions under Federal Rule of Civil

Procedure 37, seeking dismissal of Plaintiffs’ claims as a result of: (1) Plaintiffs’

“lies” to the Court about the extent and level of access Plaintiffs had to Spinrilla;

(2) Plaintiffs’ failure to timely produce the spreadsheets containing the results of

their sweeping investigation; and (3) Plaintiffs’ bad faith failure to comply with

their discovery obligations and in asserting the work product protection over

documents relied on by the RIAA investigators on whose testimony Plaintiffs offer

in support of a motion for summary judgment.

       B. Standard

       Federal Rule of Civil Procedure 37(b) authorizes the Court to sanction a

party who fails to obey a court order to provide discovery. See Fed. R. Civ. P.

37(b)(2)(A)(i)&(ii). District courts have broad discretion to fashion appropriate

sanctions for violations of discovery orders. See Ins. Corp. of Ireland, Ltd. v.

Compagnie des Bauxites de Guinee, 456 U.S. 694, 707 (1982); BankAtlantic v.

Blythe Eastman Paine Webber, Inc., 12 F.3d 1045, 1048 (11th Cir. 1994). “A

primary aspect of that discretion is the ability to fashion an appropriate sanction

for conduct which abuses the judicial process.” Chambers v. NASCO, Inc., 501 U.S.

2, 44-45 (1991).

       However, dismissal is the most severe sanction and is appropriate only as a

last resort where lesser sanctions will not suffice. Flurry v. Daimler Chrysler


Jeremy Landis, who was deposed two days after Defendants filed their Reply, testified that the
2015 date on the second entry of the Privilege Log was an error, and should have been 2016.
(Deposition of Jeremy Landis at 85-88.)

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Corp., 427 F.3d 939, 944 (11th Cir. 2005); Navarro v. Cohan, 856 F.2d 141, 142

(11th Cir. 1988) (affirming dismissal after plaintiff failed to appear for his

deposition where the district court “restrained from ordering dismissal until after

other lesser sanctions had failed,” including admonishment and imposition of

monetary fine). Dismissal as a sanction “requires a willful or bad faith failure to

obey a discovery order.” Malautea v. Suzuki Motor Co., 987 F.2d 1536, 1542 (11th

Cir. 1993). A party demonstrates bad faith by “delaying or disrupting the litigation

or hampering enforcement of a court order.” Eagle Hospital Physicians, LLC v.

SRG Consulting, Inc., 561 F.3d 1298, 1306 (11th Cir. 2009); Byrne v. Nezhat, 261

F.3d 1075, 1121 (11th Cir. 2001). Under Malautea, there must be a predicate

discovery order that is “definite enough to support” dismissal under Rule 37. 987

F.2d at 1543.

      A court may also “impose sanctions for litigation misconduct under its

inherent power.” Eagle Hospital Physicians, 561 F.3d at 1306. This power

“derives from the court’s need to manage its own affairs so as to achieve the orderly

. . . disposition” of a case, but must be “exercised with restraint and discretion.” Id.

(internal punctuation and citations omitted). “The key to unlocking a court’s

inherent power is a finding of bad faith.” Id.; Barnes v. Dalton, 158 F.3d 1212, 1214

(11th Cir.1998). Two common fact patterns reappear in cases involving findings of

bad faith: willful misconduct that corrupts the adversary process or repeated

failures to obey the court’s discovery orders.




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      For example, in Eagle Hospital, the Eleventh Circuit held that a district

court appropriately entered a default judgment in favor of the plaintiff and struck

the defendant’s answer and counterclaims after finding that a defendant had been

“secretly monitoring [the plaintiff’s] confidential e-mail communications.” Id. at

1301. Although the defendant had not violated any court order in particular, the

harsh sanction of a default judgment was necessary because permitting the case to

continue would be “an open invitation to others to abuse the judicial process” and

because it would be “untenable for [the plaintiff] to continue litigating against the”

defendant after its confidential communications had been intercepted. Id. at 1306-

07; see also In re Sunshine Jr. Stores, Inc., 456 F.3d 1291, 1304 (11th Cir. 2006)

(describing federal courts’ inherent power to impose sanctions and upholding

bankruptcy court’s use of inherent power to enter default against Bank of New York

over objection that it was not properly notified of consequences of its actions; bank

had failed to comply with multiple court orders over the span of eighteen months

in an attempt to block discovery into whether or not it complied with its fiduciary

obligations to provide an accounting of debtor’s funds and pay interest on those

funds).

      In Malautea, the Eleventh Circuit upheld the district court’s sanction of

striking the defendants’ answers and entering default judgment against them on

the issue of liability as a result of the defendants’ “grave and repeated abuses of the

discovery     process,”   including   their    deliberate   withholding   discoverable

information the court had ordered them to produce. 987 F.2d at 1538. The case


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arose out of a traffic accident in which the plaintiff’s husband sustained serious

head and spinal cord injuries when his vehicle rolled over during a collision.

Suzuki conducted testing on the vehicle prior to its release, which plaintiffs sought

in discovery. Id. at 1539. After the plaintiffs moved to compel the tests and other

documents related to the vehicle’s design, the district court ordered the defendants

to produce all discovery pertaining to rollover accidents, seat-belt failures, design

and testing materials, and materials relating to marketing for the vehicle. Id. The

defendants, however, delayed in producing the information despite repeated and

multiple warnings by the court, and improperly refused to answer interrogatories,

and arbitrarily limiting their responses in order to avoid revealing a great deal of

discoverable information regarding testing and changes in the design of the

vehicle. Id. Even when warned by the Court of the prospect of sanctions hearing,

the defendants failed to produce much of the information they twice had been

ordered to produce. Id.

      The district court concluded that the defendants had delayed producing

documents and had given misleading answers to interrogatories and requests to

produce, “using a number of techniques to obfuscate the truth” and that “no

sanction [would] change this aspect of the Defendants' conduct.” Id. at 1540. As

the prime example of the defendants' resistance to discovery, the district court

cited their deliberate cover up of damaging evidence regarding General Motors'

refusal to market the vehicle in the United States. In response to the plaintiff’s

specific requests for the information, the defendants responded that they were


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unaware of any such decision by General Motors. Id. The plaintiffs ultimately

obtained documents from General Motors (under court order) showing that after

defendants suggested that General Motors market the vehicle in the U.S., General

Motors performed tests on the vehicle, which led General Motors to decline to

market the vehicle because of “perceived rollover tendencies.” Id. at 1541. The

district court found that the defendants’ responses which disclaimed knowledge of,

and even the existence of, General Motors' decision not to market the Samurai

were, “if not completely false, at least misleading.” The order imposed the sanction

of default judgment because the defendants’ “actions, as a whole, reveal[ed] a bad

faith decision to avoid revealing the truth at all costs [and] because no other

sanction will deter the Defendants, and similarly situated parties, from repeating

this egregious conduct.” Id.

      The Eleventh Circuit affirmed, stating the “defendants richly deserved the

sanction of a default judgment,” because the court’s discovery orders “clearly

encompassed the General Motors information and were definite enough to support

Rule 37 sanctions,” yet the defendants failed to offer any credible explanation for

their failure to comply. Id. at 1543. The Eleventh Circuit further determined that

the sanction for the defendant’s willful violations of the court’s clear discovery

orders was just because the “defendants received ample notice of the possibility of

a default judgment sanction and liberal opportunity to show why the sanction was

not deserved [but] failed to demonstrate any injustice in the default judgment




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sanction due to lack of adequate notice or opportunity to show a legitimate excuse

for failing to comply with the court's orders.” Id. at 1543-44.

      C. Discussion

      Defendants’ motion is in a slightly odd posture from the typical motion for

sanctions. The impetus behind Defendants’ motion is the alleged “lie” told by

Plaintiffs’ counsel to justify Plaintiffs’ discovery requests. But the uncovering of

this “lie” led to the uncovering of Plaintiffs’ alleged attempts to “hide” the existence

of their own evidence from discovery by Defendants.

      As Plaintiffs aptly summarize in their Response, Defendants’ Motion for

Sanctions boils down to two contentions. First, Defendants assert that Plaintiffs’

repeated representations to this Court that they do not have access to the

databases, reports, server logs and other information from the Spinrilla service to

which Defendants have access, and that Plaintiffs “can only see what we can see

from the outside looking in,” were revealed to be a lie. Second, Defendants claim

that Plaintiffs should have handed over, at an earlier point than they did, the four

spreadsheets of data about Spinrilla that were created by RIAA as part of the repeat

infringer study. Specifically, Defendants contend that: (1) the spreadsheets were

allegedly “hidden” under the guise of a “bad faith” assertion of work product

protection; (2) the spreadsheets allegedly belie Plaintiffs’ claim that they need

Defendants’ database and server log data to fully substantiate their claims; and (3)

the spreadsheets allegedly reveal that various discovery responses by Plaintiffs

were misleading.


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       The court must address in turn whether: (1) Defendants’ discovery requests

covered the late-produced spreadsheets; (2) whether Plaintiffs violated a discovery

order so that a dismissal sanction (or some lesser sanction) could be ordered under

Rule 37; (3) whether or not Defendants have made the showing of bad faith

necessary to invoke the Court’s inherent powers to sanction Plaintiffs’ alleged

misconduct; and (4) if dismissal is not appropriate, whether other lesser sanctions

are warranted under the circumstances.

       1.      Did Defendants’ Discovery Requests Encompass the Data
               Contained in the Spreadsheets?

       According to Defendants, the spreadsheets compiled by RIAA were directly

responsive to several of Defendants' discovery responses6, including: (1) a

document subpoena to RIAA; (2) Defendants' Requests for Production of

Documents; and (3) Defendants' Interrogatories.7

       On September 7, 2017, Defendants served a Subpoena for documents on

RIAA, commanding the production of the requested documents by September 19,



6 Defendants also complain about Plaintiffs' Responses to Defendants' Requests for Admission as
exhibiting a pattern of deceit by Plaintiffs in hiding the extent of their knowledge of the contents
of the Spinrilla database. However, the select Requests for Admission discussed by Defendants
ask for Plaintiffs to “Admit that Spinrilla hosts hundreds of thousands of sound recordings which
[Plaintiffs] do not own or exclusively control” and to "Admit that Spinrilla hosts millions of sound
recordings." (Mot., Doc. 100 at 20-21.) Plaintiffs responded to these requests by stating that they
were unable to admit or deny the request based on Defendants’ failure to identify in the course of
discovery the number and nature of sound recordings hosted on Spinrilla. (Ex. H to Mot., Doc.
101-7.) The Court does not agree with Defendants’ characterization of these responses as
deceitful.
7 Defendants do not identify these Interrogatories specifically. Instead, Defendants contend that

in response to 13 of the initial 20 Interrogatories from Spinrilla, Plaintiffs provided limited
information and stated that the requested information "is known to Defendants and not known
to" Plaintiffs. (Mot., Doc. 100 at 18.) It is not the Court’s duty to scour the discovery record in
search of information necessary to support a party’s sanctions motion.

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2017, four days in advance of Mr. Linares's scheduled deposition. (Doc. 67.)

Request No. 5 of Defendants' Document Subpoena to RIAA requested "All

documents created as part of the Repeat Infringer Study discussed in the Linares

Declaration." (Id. at 11.) Plaintiffs' counsel, on behalf of RIAA, responded to the

subpoena, stating

              RIAA objects to Request No. 5 insofar as it calls for the
      production of documents protected by the attorney-client privilege,
      the work product doctrine, and other applicable privileges or
      doctrines. In particular, documents created as part of the Repeat
      Infringer Study include (1) confidential communications containing
      legal advice pertaining to this litigation and (2) strategies and legal
      impressions of RIAA’s attorneys and Plaintiffs’ attorneys related to
      this litigation.
              Moreover, Plaintiffs object to Request No.4 because it calls for
      the disclosure of materials covered by Rule 26(b)(3) of the Federal
      Rules of Civil Procedure, which protects against the disclosure of
      documents created by a party’s agent or representative in anticipation
      of litigation or for trial. See Fed. R. Civ. P. 26(b)(3).
          To the extent that this Request seeks non-privileged documents
      that are relevant to the claims and defenses at issue in this lawsuit,
      and without waiver of and subject to the objections stated above,
      RIAA responds that it has already produced all responsive documents
      currently within its possession, custody, or control.

(Ex. D to Mot., Doc. 101-4 at 8-9.) Defendants assert that since Plaintiffs had not

produced (or identified as existing) the Excel spreadsheets, the response that all

responsive documents had already been produced "was a lie." (Mot., Doc. 100 at

11-12.)

      Defendants' Requests for Production of Documents sought the following

information from Plaintiffs:




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      REQUEST NO. 36:
      All documents that support or contradict Your contention that
      Defendants’ alleged actions have resulted in “Plaintiffs’ copyrighted
      sound recordings being downloaded and/or streamed by the public
      millions of times, without Plaintiffs’ permission and without payment
      of any compensation whatsoever to Plaintiffs.” (Complaint, ¶ 2).

      REQUEST NO. 37:
      All documents that support Your contention that the “amount of
      content uploaded to the Spinrilla website and apps consists of popular
      sound recordings whose copyrights are owned by Plaintiffs” is
      “substantial.” (Complaint, ¶ 3).

(Ex. E to Mot., Doc. 101-5 at 35-36.) On July 31, 2017, Plaintiffs responded to these

requests as follows:

      RESPONSE:
      Plaintiffs object to this Request insofar as a large number of the
      documents requested are in the possession and control of Defendants,
      not Plaintiffs. Plaintiffs further object to the extent that producing all
      documents supporting or contradicting the contention in this Request
      will lead to the disclosure of (1) confidential communications
      containing legal advice pertaining to this litigation and (2) Plaintiffs’
      attorneys’ strategies and legal impressions in the context of this
      litigation. Without waiver of and subject to their Objections to
      Definitions and their Objection to this Request, and upon entry of an
      appropriate protective order, Plaintiffs will produce responsive, non-
      privileged documents, dated from January 1, 2012 through February
      3, 2017, that have been located after a reasonable search, with the
      exception of documents that they obtain solely by virtue of
      Defendants’ disclosures through discovery.

(Id.) Defendants assert that because Plaintiff had greater access to the Spinrilla

database than they were letting on, these responses were "obviously lies." (Mot.,

Doc. 100 at 17-18.)

      Plaintiffs do not dispute that the spreadsheets were fairly encompassed by

and are responsive to the RIAA Document Subpoena or Defendants’ Requests for



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Production of Documents. Rather, Plaintiffs contend that the spreadsheets are

“classic, core Rule 26 work product, prepared in direct anticipation of, and as part

of, the prosecution of this litigation,” and that they were not required to produce

the spreadsheets in response to Defendants’ discovery requests. Plaintiffs also

contend they were not required to identify the existence of the spreadsheets in

responding to Defendants’ requests because the parties agreed not to prepare

privilege logs. Finally, Plaintiffs assert that Defendants have not been prejudiced

because Plaintiffs produced (before the close of discovery) the spreadsheets

containing the actual data obtained by the RIAA investigators from Spinrilla, as

opposed to other spreadsheets which contain various analyses of the data.

       2.      Did Plaintiffs Violate a Court Discovery Order?

       Defendants have not shown that Plaintiffs violated a discovery order so that

sanctions under Rule 37 are appropriate. Malautea, 987 F.2d at 1542 (bad faith

violation of predicate discovery order necessary to impose ultimate sanction of

dismissal under Rule 37). Defendants contend this Court’s Scheduling Order

should be considered a discovery order for purposes of imposing dismissal under

Rule 37(b)(2) as a sanction for failing to obey a discovery order. Defendants assert

that “[b]y approving the parties’ Joint Preliminary Report,8 Plaintiffs were under


8 Defendants note that in their Joint Preliminary Planning Report, the parties agreed “to include
with service of their initial disclosures all documents identified in their respective disclosures if
such documents are reasonably accessible to that party at that time its disclosures are served,”
and that Plaintiffs’ Attachment C to their Initial Disclosures, provided, “[a]t this time, Plaintiffs
identify the following relevant categories of documents, which may be obtained through counsel
for Plaintiffs: B. Documents evidencing Defendants’ and their users’ infringement of Plaintiffs’
copyright sound recordings and Defendants’ knowledge thereof.” (Doc. 25 at 10; Pls.’ Initial
Disclosures.)

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an order to produce documents relating to the alleged infringement and which

were “reasonably accessible” to Plaintiffs.” (Defs.’ Supp. Br., Doc. 114 at 10-11.)

This argument falls short.         The Scheduling Order merely adopts the vague

representations by the parties in their Joint Preliminary Report and Discovery Plan

and addresses only in the most general of terms, the scope of discovery. It did not

directly or clearly address the parties’ obligations to produce the specific

documents at issue in Defendants’ sanctions motion. Cf. Malautea v. Suzuki

Motor Co., Ltd., 987 F.2d at 1542–43 (affirming sanction of default judgment, and

finding that “[t]he discovery orders of July 24, July 26, and August 30 clearly

encompassed the General Motors information and were definite enough to support

Rule 37 sanctions. The plaintiff specifically requested the General Motors

information pertaining to testing, design, and marketing of the Samurai and

similar vehicles. In Judge Edenfield's orders, he expressly referred to these

materials. Therefore, the judge’s orders undoubtedly compelled the defendants to

provide the General Motors information”). Defendants have offered no authority

to support a reliance on the Scheduling Order to justify dismissal of Plaintiffs’

claims Rule 37(b)(2).9




9Because Defendants’ motion focuses on Rule 37 as the basis for sanctions, the Court declines to
view this motion under the prism of Rule 11.

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      3.     Have Defendants Shown Bad Faith?

      The Court finds that Defendants demonstrated bad faith on the part of

Plaintiffs but not the severe level of bad faith required as a predicate for the

imposition of the dismissal sanction requested by Defendants.

      Plaintiffs’ clear misrepresentations to the Court during the August and

September 2017 discovery hearings are extremely troubling.

      At the outset of the August 16, 2017 discovery hearing, Plaintiffs told this

Court that without Defendants’ production of “logs and databases that would

indicate all the various sound recordings that have been on the [Spinrilla] system.

[Plaintiffs] have been through some sort of hunting for -- almost a manual hunting

trying to find more infringements.” (August 16, 2017 Tr., Doc. 52 at 8) (emphasis

added). Although Plaintiffs admitted to having identified roughly 2,000 allegedly

infringing sound recordings, Plaintiffs explained at the September hearing “[t]his

is what we were able to find just on our own kind of in the blind, as it were.”

(September 19, 2017 Tr., Doc. 87 at 9-10) (emphasis added). In direct response to

the Court’s question about Plaintiffs’ level of access to the Spinrilla database,

Plaintiffs stated “[w]e have as much access to the database as Your Honor would

have to YouTube. For you to know exactly what is on YouTube, you would have to

sit in front of a computer and enter search queries at random to try to find out what

is on there. That is the problem.” (Id. at 52.)




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      But these representations were not accurate, as Carlos Linares testified that

RIAA employed a technology assisted automated process to download data from

Spinrilla. (Linares Dep. at 79-80, 82, 85, 121.)

      And Plaintiffs falsely implied that only Defendants had access to statistical

data concerning the sound recordings in terms of the number of streams and

downloads of critical importance to making out the Plaintiffs’ case. As Defendants

point out in their motion, Plaintiffs repeatedly claimed at the August 16, 2017

discovery hearing that they were significantly handicapped because Defendants

had not provided this statistical information in response to their discovery requests

for Spinrilla’s “databases, reports and server logs.” When asked by the Court

during the August hearing why they needed server logs, Plaintiffs stated:

      If you look at the Spinrilla website, you'll see -- for the various sound
      recordings that are on there, you'll see view counts, streams -- the
      number of times it has been streamed or downloaded. That is all based
      on the server logs. Now, the server log data is extremely important for
      us to be able to [detect] infringement, which we need to do to be able
      to rely on our secondary infringement theories, contributory
      infringement, vicarious infringement, and inducement. We need to be
      able to show -- you know, each time that a person, a user, requested
      that a song be downloaded, be streamed, that is all reflected in the
      server logs. And although the defendants have said, okay, we don't
      preserve our server logs more than 30 days -- and they have said that
      in the joint statement that was submitted to the Court -- we have
      written them and said they should certainly begin to preserve that
      information because they have an obligation to do so. . . . In terms of
      importance, I would say the server log data is -- source code may be
      the most important. Server log data, I would put it right after that.




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(August 16, 2017 Tr., Doc. 52 at 39-41.) Subsequently, at the September discovery

hearing, Plaintiffs again raised the issue of the stream and download counts and

the server logs:

      MR. DOROSHOW: Now, the defendants have told us that they don't
      have server logs; that they didn't retain them for more than 30 days.
      But there is still the question of -- and I believe Your Honor's order
      directs the production of this -- databases and related reports that
      would indicate the sound recordings that are on the system and the, I
      guess for lack of a better way to say it, statistical information.

      THE COURT: The statistical information and reports. Not the
      databases themselves.

      MR. DOROSHOW: Yes. That is right. What we're looking for -- well,
      the database is important inasmuch as –

      THE COURT: I know you want it. I just didn't order it.

      MR. DOROSHOW: Right. No. I understand. But documents sufficient
      to show the sound recordings that are on the system so that we can
      know what else is out there. Because no one knows better than they
      do what is on the system. We can only see what we can see from the
      outside looking in. So that is a broader category, something that is
      still in dispute, the statistical data concerning those sound recordings
      in terms of the number of streams, the number of downloads, and so
      forth.

(September 19, 2017 Tr., Doc. 87 at 10-11.)

      In all of this discussion with the Court, however, Plaintiffs never directly or

expressly acknowledged having detailed information on the stream and download

counts for thousands of songs for which Plaintiffs were claiming infringement. But

three days later, in the deposition of Carlos Linares, Defendants discovered that

during its investigation the RIAA team had obtained download and stream counts




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for mixtapes and tracks directly from Spinrilla and included the information in

spreadsheets provided to Plaintiffs’ counsel. (Linares Dep. at 78-82.)

      Defendants asked Mr. Linares about the statement in the declaration he gave

in support of Plaintiffs’ Motion for Partial Summary Judgment that he was

concerned about certain DJs who were,

      responsible for uploading some of the most streamed and downloaded
      ‘mixtapes’ on Spinrilla, according to charts published on the service.
      For example, as of August 10, 2016, five of the ten most popular
      mixtapes on Spinrilla were uploaded by DJ Miles, DJ Dirty Dollarz,
      and DJ Fiestaboii [and his] research has revealed that the ‘mixtapes’
      of DJ Dirty Dollarz, DJ Miles, DJ 837, and DJ Trey Cash generated
      higher cumulative download and stream counts than 99% of those
      credited to all other ‘mixtape artists’ and ‘mixtape hosts’ on Spinrilla.

(Linares Decl. ¶ 14; Linares Dep. at 75.) Defendants asked Mr. Linares what

information he relied upon to conclude that these DJs were responsible for

uploading some of the most streamed and downloaded mixtapes. (Linares Dep. at

75.) Mr. Linares reluctantly responded over Plaintiffs’ counsel’s objection:

      A. My team analyzed data from the Spinrilla service offering insight
      into the number of mixtapes that were credited to certain DJs and the
      number of times cumulatively that those mixtapes have been
      streamed or downloaded. When comparing the number of total
      streams and downloads from those mixtapes against those of the
      other DJs on the service, the DJs referenced were amongst those
      whose mixtapes had been streamed and downloaded the most.

      Q. Did you reach any -- so were there calculations to this or was this
      more of an estimate?

      MR. DOROSHOW: Objection to form.

      A. As I -- as I just explained, we added the numbers.




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Q. Oh, you did, okay. Sorry, I missed that part. So are those numbers
that you added, are those numbers in your declaration?· Do you recall
putting them in the declaration?

A. No.

Q. Do you -- does the RIAA still have those numbers?

A. I have possession of those numbers, yes.

Q. How did you get the numbers?

A. As I just explained, we reviewed Spinrilla and the mixtapes made
available on Spinrilla, and with the information we had to work with,
totaled the number of mixtapes credited to each DJ and then added
the download and stream counts for those collections of mixtapes and
then placed them in order to determine which DJ’s mixtapes were
among those most downloaded and streamed. . . .

Q. Are there names for those documents?

A. I don't –

MR. DOROSHOW:· Objection to form.

A.     They're documents in my possession that have file names. I
can't tell you what their file names are, no.

Q. How are they referred to?

A. I don't recall. . .

Q. Well, this was a study of the quantity of downloads and the quantity
of streams. Right?

MR. DOROSHOW:· Objection to form.

A. The study that you're asking me about, again, refers to the number
of downloads and streams credited to the mixtapes of these DJs when
we calculated them and placed them in order.




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(Linares Dep. at 75-78; 88) (confirming that the facts he relied on in support of his

declaration were the data collected from the Spinrilla service contained in an excel

spreadsheet).

      But Plaintiffs told this court at the September 19th hearing that their review

“from the outside looking in” was not a suitable substitute because only the actual

data will tell not only “what is on the website but how popular it is, how often it has

been streamed, how much it has been downloaded.” (September 19, 2017 Tr., Doc.

87 at 52-53.)    Those representations were misleading.         As the spreadsheets

ultimately produced to Defendants showed, Plaintiffs had access to a significant

amount of data on Spinrilla to support their claims of infringement. The data

obtained by RIAA in September 2016, October 2016, and July 2017 included all of

the types of data Plaintiffs were requesting via direct internal access to Spinrilla’s

database (claiming the information was only available to Defendants), including

the name of a given mixtape, the identity of a DJ credited with uploading that

mixtape, stream counts for that item, download counts for that item, the tracks

included on that mixtape, track lengths, and downloaded MP3               audio files.

(Linares Dep. at 79, 86, 88, 100, 120.) Even now, despite all this information

Plaintiffs were able to download from Spinrilla, they still assert in Response to the

Motion for Sanctions that "[i]t has been and remains the case that . . . Plaintiffs

and their investigators have been 'on our own kind of in the blind, as it were.'"

(Pls.' Resp., Doc. 130 at 15) (emphasis added.)




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       From all appearances, Plaintiffs’ goal was to downplay before this Court the

sophistication of their outside efforts and ability to access information directly

from Spinrilla’s applications in order to persuade this Court to grant them broad

ranging and invasive discovery into Spinrilla’s proprietary software programs.

       Plaintiffs admit that “[w]ith the benefit of hindsight, having reviewed their

remarks to the Court about this issue, Plaintiffs’ counsel now recognize that it was

an overstatement to analogize Plaintiffs’ investigative capabilities to those of an

ordinary user, to whom automated evidence collection processes may not be

available.” (Pls.’ Resp., Doc. 130 at 4-5.) Yet Plaintiffs maintain that they did not

lie, and that it was and still remains true that “Defendants possess more, and more

complete information about the contents and activities of their own Spinrilla

service” than Plaintiffs could gather in their investigative efforts. 10 According to

Plaintiffs, the testimony of Dylan Copeland on October 2, 2017, and documents

produced by Defendants in December 2017 confirm that Defendants possess

nearly 100,000 sound recordings that were once publicly accessible on Spinrilla

but that Defendants disabled from public view and thus could not be captured even




10 Defendants have repeatedly asserted that Plaintiffs have information as a result of their
investigation that Spinrilla no longer has access to because the users have removed the content
from Spinrilla and there is no record of the data for those audio files retained in the Spinrilla
database. According to Defendants, this belies Plaintiffs’ representations that only Defendants
know everything that is on the Spinrilla database. Defendants’ position may evidence the
existence of flaws in Defendants’ information retention practices but it is not persuasive as
evidence that Plaintiffs have lied with respect to their characterization of who has more
information about the Spinrilla service.

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in Plaintiffs’ automated searches of the website.11           (Pls.’ Resp., Doc. 130 at 12)

(citing Copeland Deposition.)

       Plaintiffs are correct that even if they had been able to collect the complete

universe of data on their own from Spinrilla, it would not have relieved Defendants

from their independent discovery obligations to produce the requested

information about the sound recordings, including the tracks, URLs, and stream

and download data. See e.g., Am. Deli Int'l, Inc. v. Boa Cho Corp., 1:12-CV-4031-

JEC-JSA, 2014 WL 11822765, at *2 (N.D. Ga. July 22, 2014) (Anand, M.J.)

(“Plaintiffs are not prohibited from discovering what documents are in Defendant's

possession, regardless of whether Plaintiffs may already independently possess

some or all of those documents.”); Jones v. Alta Colleges, Inc., 1:08-CV-1027-

CAM-RGV, 2009 WL 10665816, at *6 (N.D. Ga. Aug. 25, 2009) (Vineyard, M.J.)

(“[P]laintiffs' responses that the information is already in the possession of

defendant is inadequate, since “the fact that the information sought might already

be in the possession of the requesting party or obtainable from another source is

not a bar to discovery of relevant information.”).

       As the Court advised Defendants at the September 2017 discovery hearing,

Defendants cannot have their cake and eat it too. In other words, Defendants could

not continue to block Plaintiffs’ access to the database while simultaneously

declining to produce information obviously available to them about the songs


11Defendants acknowledge that these sound recordings, which Defendants refer to as “grayed
out,” are a category of information for which Defendants have more data than Plaintiffs. (Defs.’
Reply, Doc. 132 at 12.)

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hosted on their platform. It was not reasonable for Defendants to expect Plaintiffs

to provide a final list of infringing content for purpose of amending their Complaint

without information from Defendants regarding the full list of content available

(or previously posted) on Spinrilla. Nor was it reasonable for Defendants to suggest

that Plaintiffs were required to cull through the entire Spinrilla website to find

every single song to determine what may or may not be infringing. Thus, the Court

ordered Defendants to begin to undertake efforts to provide the information to

Plaintiffs. (September 19, 2017 Transcript, Doc. 87 at 60-62.) (See also August 28,

2017 Order, Doc. 58 at 7) (“Defendants are ORDERED to provide Spinrilla user

data reports showing the downloading and/or streaming of copyrighted content

on the Spinrilla site, including any data analytics maintained by Defendants by

user as detailed here.”)

      On the one hand it appears that by making misrepresentations to the court

and withholding the spreadsheets as protected work product, Plaintiffs may have

been attempting to hide from Defendants and this Court the extent of the evidence

of their investigation. Indeed, Plaintiffs’ counsel’s argument to the Court on behalf

of expansive requests for Defendants’ proprietary data and software was expressly

linked to their purported inability to effectively access Defendants’ files and

recordings. On the other hand, it was no secret that Plaintiffs had conducted an

investigation of Spinrilla and its alleged infringing conduct. Plaintiffs indicated at

both discovery hearings that they had been able to locate thousands of infringing

songs on Spinrilla on their own, if only manually, and the Linares declaration


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contained some detail into RIAA’s repeat infringer study. The existence of the

spreadsheets containing extensive data downloaded from Spinrilla came to light

just three days after the September discovery hearing. Plaintiffs produced the

three spreadsheets containing the information from the September 2016, October

2016, and July 2017 data pulls during the Linares deposition (subject to an

agreement with Defendants that they were waiving the work product protection

for these spreadsheets but not as to other documents). And, Plaintiffs produced a

fourth “master spreadsheet” of the RIAA investigation two weeks after the Linares

deposition.

      Even so, Plaintiffs delayed in producing the spreadsheets for the majority of

the discovery period and had never expressly acknowledged their existence either

to Defendants or this Court. Plaintiffs still maintain that the four spreadsheets that

were produced are proper work product but were produced only as a compromise.

Despite having now produced them (and using that as justification for denying

Defendants’ sanctions motion), Plaintiffs do not concede that these materials were

properly discoverable in response to Defendants’ discovery requests.             And

Plaintiffs continue to withhold 65 additional spreadsheets under the guise of work

product, as discussed below in section I(C)(4) infra.

      But there are other facts to consider in determining whether Plaintiffs

engaged in bad faith as necessary to warrant dismissal. First, these issues were not

brought front and center through a request to compel the discovery via the Court’s

informal discovery process prior to Defendants’ Motion for Sanctions. Rather,


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Defendants jumped the gun in filing this Motion for Sanctions. At the same time,

the Court recognizes that at the time the sanctions motion was filed, Plaintiffs had

not produced the privilege log and Defendants had no concrete information that

additional documentation had actually been withheld. But there were reasonable

clues as Plaintiffs had made their privilege assertions in their written discovery

responses, and in response to the RIAA Document Subpoena and required

Defendants to agree that Plaintiffs were not generally waiving the privilege over all

documents by producing the spreadsheets during the Linares deposition.

      Second, despite withholding the 65 spreadsheets detailing its investigation

into Spinrilla, Plaintiffs have produced a significant number of documents in this

case, such that the Court cannot find that they have consistently failed to observe

their discovery obligations.    And Plaintiffs came to the Linares deposition

apparently prepared to disclose the spreadsheets (albeit in a redacted form)

knowing that Mr. Linares would be forced to testify regarding the data collected

during the RIAA investigation. Thus, there is mixed evidence as to the Plaintiffs’

proclivity towards hiding evidence in support of their claims.

      Third, while Plaintiffs did in fact delay in producing the spreadsheets in

response to Defendants’ first set of interrogatories and in advance of the Linares

deposition (rather than during the deposition after he grudgingly revealed their

existence), Plaintiffs clearly made their privilege assertions in their written

discovery responses and the parties did originally agree to forego preparing

privilege logs. But Plaintiffs production of the spreadsheets (in redacted form)


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implicitly acknowledges (in the Court’s view) that their assertion of work product

privilege was not entirely proper under the circumstances. And unfortunately,

Plaintiffs waited until the last month of discovery to produce the three

spreadsheets. Although Defendants did have the spreadsheets for some portion of

Mr. Linares’s deposition, their surprise production necessarily left Defendants ill

equipped and ill prepared to adequately and thoroughly examine Mr. Linares

about the details of the investigation. Presumably in recognition of the

disadvantage to which they placed Defendants in during the Linares deposition,

Plaintiffs are willing to allow Defendants to re-examine Mr. Linares about the

spreadsheets. Given these facts, the Court finds that Plaintiffs (1) did delay in their

production of the spreadsheets (though not inordinately so) and (2) should have

more promptly and expressly flagged the general existence of the spreadsheets in

response to Defendants’ discovery requests.

      Fourth, Defendants may overstate their position when discussing how they

have been harmed. (See Defs.’ Mot, Doc. 100 at 9-21; Defs.’ Supp. Br., Doc. 114 at

2-7; Defs.’ Reply, Doc. 132 at 20-23.) In response to Defendants’ complaints about

Plaintiffs’ failure to produce the spreadsheets earlier in the discovery period,

Plaintiffs assert Defendants make much ado about their alleged prejudice.

Defendants fail to acknowledge that Plaintiffs produced “an enormous number of

documents concerning the same subject matter of the spreadsheets,” including:

      (1) detailed lists of more than 12,000 recordings on the Spinrilla site
      that Plaintiffs believed potentially infringed Plaintiffs’ copyrights
      (produced in July 2017); (2) thousands of pages of screenshots


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      showing infringing activity on Spinrilla, including many showing
      names of infringing tracks and mixtapes, the DJs who hosted them,
      and the URLs where they were located on the site (produced in August
      2017); (3) a detailed list of the more than 2,000 copyrighted sound
      recordings that Plaintiffs have since verified as infringing and are now
      works in suit (produced in September 2017); and (4) copies of over
      7,000 actual infringing sound recordings corresponding to the works
      in suit that Plaintiffs downloaded from the Spinrilla site (also
      produced in September 2017).

(Pls.’ Resp., Doc. 130 at 5-6.)

      Defendants contend that by hiding the evidence of the extent of their

investigative efforts, Plaintiffs caused unnecessary discovery disputes and

prejudiced Defendants in a number of ways. Defendants assert that had Plaintiffs

provided the spreadsheets earlier in the litigation, “Defendants’ development of

the facts would be much further along and Defendants would be better prepared

for the next phases of this litigation.” But as the saying goes, “time heals all

wounds,” and Defendants have now had a significant amount of time to digest the

already unearthed information. And a brief extension of discovery affords an

adequate remedy for these harms.

      Defendants argue that by hiding and lying about the RIAA data, Plaintiffs

forced Defendants to spend precious time and money fumbling through discovery

because Defendants focused much of their discovery on trying to identify which

sound recordings Plaintiffs alleged were infringed and where on Spinrilla’s

platform the allegedly infringing versions could be found. Instead, Defendants

could have focused on testing, analyzing, and understanding how the

infringement, if any, had occurred. As of the time of Defendants’ sanctions motion,


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Plaintiffs had identified over 2,000 allegedly infringing sound recordings that

Defendants could have been evaluating.12 Defendants further contend that “by

forcing Defendants to try to figure out which sound recordings were allegedly

infringed and where on the Spinrilla platform the allegedly infringing version was,

rather than just giving Defendants that information, Plaintiffs maliciously sent

Defendants down an expensive and unnecessary rabbit hole from which . . .

Defendants cannot recover.” (Defs’ Supp. Br., Doc. 114 at 2.) But Plaintiffs

requested that Defendants be required to identify the universe of sound recordings

available on Spinrilla so that Plaintiffs could engage in the task of determining

whether they infringed Plaintiffs’ copyrights. Defendants have failed to point to a

single request by Plaintiffs that Defendants self-identify the infringement in this

manner. Defendants cannot manufacture harm to justify the extreme sanction of

dismissal.

       Defendants contend that Plaintiffs lied to convince the Court they should be

allowed to amend their complaint to add 2,000 additional sound recordings to

their original list of 210 allegedly infringing songs. But, that is not really accurate.

The Court granted Plaintiffs leave to amend the complaint at the September 19th

hearing based on sound recordings Plaintiffs had already identified, not because of




12 Although Defendants assert that without the URLs for these songs (that were not produced by
Plaintiffs until October 4) Defendants had no way of knowing which of the more than one million
songs on its platform “was the allegedly infringing song.” This argument rings hollow. If Plaintiffs
identified Beyonce’s Single Ladies, Defendants could search their database for the song, run it
through Audible Magic, and determine whether any sound recordings uploaded on Spinrilla were
flagged by Audible Magic as infringing. (See generally Copeland Dep.)

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their alleged lack of access to identify all potentially infringing sound recordings

available on Spinrilla.

      Defendants also contend that if they had been provided timely copies of the

spreadsheets, the 30(b)(6) deposition of Sony would have in theory been more

productive. While the Court can understand how this may in theory be true,

Defendants have failed to point to any actual portion of the Sony 30(b)(6)

deposition that was incomplete, insufficient, or inadequate as would be expected

by the Court.

      According to Defendants,

      remedying the prejudice is impractical as it would require a complete
      overhaul of this case’s remaining timeline. Defendant would need two
      or three months more of fact discovery, including leave to serve more
      interrogatories on Plaintiffs, to redepose Sony and re-depose Mr.
      Linares. Between the filing of this Brief and the Court’s ruling on the
      Motion for Sanctions, more depositions will take place while Plaintiffs
      still have not produced non-redacted versions of the RIAA
      spreadsheets or provided the requested privilege log related to the
      RIAA spreadsheets. If the case were to continue in a fair way, Plaintiffs
      should also be required to reimburse Defendants for the attorney fees
      and expenses they incurred doing unnecessary discovery. Without
      these allowances, Defendants will forever be handicapped by
      Plaintiffs’ dishonesty.

(Defs.’ Supp. Br., Doc. 114 at 7.) The Court just does not see it that way and believes

with some guidance and oversight this case can be set back on track.

      Obviously, had Defendants been provided the spreadsheets prior to the

deposition of Mr. Linares, Defendants would have been better prepared to depose

Mr. Linares about the contents of the spreadsheet and the details of the RIAA

investigation. Therefore, an additional deposition of Mr. Linares, targeting the


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spreadsheets, is warranted. This is true also for any of the Plaintiffs’ 30(b)(6)

witnesses who were deposed prior to the production of the spreadsheets. The

Court will consider allowing some additional interrogatories, but Defendants must

submit a proposal identifying the actual subject matter of the proposed

interrogatories along with an explanation of why they are necessary and not

otherwise covered by Defendants’ existing requests.13 Finally, the Court cannot

sufficiently judge the merits of Defendants’ contention that having some or all of

the 68 spreadsheets earlier in discovery would have prompted Defendants to work

with more or different expert witnesses or consultants. The Court does not have a

handle on what the status of the expert disclosures was when this case essentially

stalled as a result of the onslaught of motions filed by the parties over these various

disputes. Accordingly, the Court will consider this request, but will require further

information from the parties about where this case stands in terms of expert

discovery, as well as more specific information from Defendants about the nature

of the expert discovery they are envisioning.

       The Court finds that Plaintiffs’ behavior, while extremely problematic in

some respects, their bad faith does not rise to the level of severity required to

authorize the sanction of dismissal. Malautea, 987 F.2d at 1542. The harm

Defendants suffered can be remedied by a less extreme sanction than dismissal.



13Defendants assert, without any explanation, that “there were many interrogatories Defendants
propounded which they did not need to propound” and that Defendants could have instead
“reserved their limited interrogatory requests to different and/or more finely tuned topics.” (Defs.’
Reply, Doc. 132 at 21.)

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The Court is deeply troubled by Plaintiffs’ representations about their feigned lack

of access to data and information from Spinrilla, when in fact they had a wealth of

detailed information about hundreds of thousands of sound recordings. And the

Court is also troubled by Plaintiffs’ withholding this evidence from Defendants

until they were caught with a hand in the cookie jar during Mr. Linares’s

deposition. Any similar conduct shall not be tolerated. This Order thus serves as

a warning.

       4.      Whether Other Lesser Sanctions Are Warranted?

       While dismissal is not warranted, the Court does find that lesser sanctions

are appropriate under the circumstances. According to Plaintiffs, the additional

65 spreadsheets identified on the Privilege Log14 did not each represent a separate

collection of data from Spinrilla. (Pls.’ Surreply, Doc. 147 at 2-3.) Rather, Plaintiffs

contend,

       to the extent that those spreadsheets include data downloaded from
       the Spinrilla website at all, [Jeremy] Landis15 [of RIAA] stated that
       they “appear to be based on the data that [he] collected” in or around
       September 2016, October 2016, and July 2017 – data that has already
       been produced to Defendants. (Landis Dep. at 90:3-12.) Mr. Landis
       explained that he was frequently asked to organize and provide data
       from those existing collections to the RIAA investigators so they could
       conduct further analysis and build Plaintiffs’ case against Defendants,
       as reflected in those spreadsheets. (Id. at 27:14-6; 84:10-13; 90:14-
       24.)



14 Although the parties originally agreed to forego the burden and expense of creating privilege
logs, Plaintiffs’ produced the privilege log for the 68 spreadsheets on October 23, 2017 in response
to Defendants’ request as the dispute about the spreadsheets started coming to a head.
15 Jeremy Landis is the “Head of Development” of the RIAA, and was involved in the technical side

of the RIAA investigation into Spinrilla.

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(Pls.' Surreply, Doc. 147 at 2-3.) Plaintiffs contend that, "[a]s the titles of the

spreadsheets identified in the privilege log suggest, many of the spreadsheets do

not contain any data downloaded from Spinrilla and instead consist entirely of the

investigators' notes and observations." (Id. at n. 2.) Therefore, Plaintiffs assert

that the information in the 65 spreadsheets is "classic, core work product, which

Plaintiffs properly withheld and then timely identified on their privilege log."16 (Id.

at 4.)

         None of this is obvious from the privilege log. The only entries on the

privilege log that Plaintiffs specifically identify as consisting “entirely of the

investigators' notes and observations" are numbers 10 and 49. Entry number 10

on Plaintiffs’ privilege log is identified as “Chart – Tracks That Did Not

Immediately Have Full Compliance.xlsx” and is described only as “Investigative

material the RIAA prepared in anticipation of this lawsuit pertaining to

infringement on Spinrilla.com and Spinrilla’s legal noncompliance.” (Ex. A to

Defs.’ Reply, Doc. 132-1 at 4.) Entry number 49 is identified as “Prominent

Spinrilla DJs and their Social Media.xlsx”_and is described only as “Investigative

material prepared by the RIAA to collect evidence in anticipation of this litigation.”

(Id. at 7.)

         Other representative entries on the privilege log are identified as follows:




16The privilege log also tags each document as “Attorney-Client Privilege,” however, Plaintiffs
have not argued here that the documents are subject to attorney-client privilege. Accordingly, the
Court will address only the work product privilege.

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Number    File Name                         Privilege Description

  4       Spinrilla DMCA Study – Repeat     Investigative material the RIAA prepared in
          Infringers (6) – August           anticipation of this lawsuit pertaining to
          2016.xlsx                         infringement on Spinrilla.com and Spinrilla’s
                                            legal noncompliance.
  11      Spinrilla – Evidence Collection   Investigative material prepared by the RIAA to
          – Sony Music                      collect evidence in anticipation of this litigation
          Entertainment.xlsx
  15      Young Thug.xlsx                   Investigative material the RIAA prepared in
                                            anticipation of this lawsuit pertaining to
                                            infringement on Spinrilla.com and Spinrilla’s
                                            legal noncompliance.
  17      Spinrilla Scrape 8.22.2016.xlsx   Investigative material the RIAA prepared in
                                            anticipation of this lawsuit pertaining to
                                            infringement on Spinrilla.com and Spinrilla’s
                                            legal noncompliance.
  25      Compliance Check                  Investigative material the RIAA prepared in
          Spreadsheet.xlsx                  anticipation of this lawsuit pertaining to
                                            infringement on Spinrilla.com and Spinrilla’s
                                            legal noncompliance.
  29      Spinrilla DMCA Study – Hot        Investigative material the RIAA prepared in
          This Week – October 2016.xlsx     anticipation of this lawsuit pertaining to
                                            infringement on Spinrilla.com and Spinrilla’s
                                            legal noncompliance.
  33      Exhibit A Chart – Master.xlsx     Investigative material the RIAA prepared in
                                            anticipation of this lawsuit pertaining to
                                            infringement on Spinrilla.com and Spinrilla’s
                                            legal noncompliance.
  34      Top 100 DL Tracks – Short         Investigative material the RIAA prepared in
          Form (12.5.2016).xlsx             anticipation of this lawsuit pertaining to
                                            infringement on Spinrilla.com and Spinrilla’s
                                            legal noncompliance.
  38      recheck.xlsx                      Investigative material prepared by the RIAA to
                                            collect evidence in anticipation of this litigation
  39      spinlegal.xlsx                    Investigative material prepared by the RIAA to
                                            collect evidence in anticipation of this litigation
  40      top100.xlsx                       Investigative material prepared by the RIAA to
                                            collect evidence in anticipation of this litigation
  41      Spinrilla DMCA Studies – Short    Investigative material the RIAA prepared in
          Form.xlsx                         anticipation of this lawsuit pertaining to
                                            infringement on Spinrilla.com and Spinrilla’s
                                            legal noncompliance.
  58      Spinrilla DMCA Study – Tracks     Investigative material the RIAA prepared in
          Downloaded Post Filing –          anticipation of this lawsuit pertaining to
          February 2017.xlsx                infringement on Spinrilla.com and Spinrilla’s
                                            legal noncompliance.
  59      Spinrilla DMCA Studies – Long     Investigative material the RIAA prepared in
          Form.xlsx                         anticipation of this lawsuit pertaining to
                                            infringement on Spinrilla.com and Spinrilla’s
                                            legal noncompliance.


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    62       Spinrilla Compliance Study DJs’    Investigative material the RIAA prepared in
             Most Recent Uploads of             anticipation of this lawsuit pertaining to
             Member Content During              infringement on Spinrilla.com and Spinrilla’s
             2017.xlsx                          legal noncompliance.
    64       Spinrilla DMCA Studies –           Investigative material the RIAA prepared in
             Master.xlsx                        anticipation of this lawsuit pertaining to
                                                infringement on Spinrilla.com and Spinrilla’s
                                                legal noncompliance.
    65       spinrilla_chart.xlsx               Investigative or evidentiary material, which
                                                pertains to repeated infringing activity on
                                                Spinrilla.com and which was prepared after
                                                Plaintiffs filed this lawsuit.
    66       spinrilla_data.xlsx                Investigative or evidentiary material, which
                                                pertains to repeated infringing activity on
                                                Spinrilla.com and which was prepared after
                                                Plaintiffs filed this lawsuit.



(Ex. A to Defs.’ Reply, Doc. 132-1.)

         The privilege log also appears to identify 3 of the 4 spreadsheets produced

to Defendants as follows:

 Number       File Name                                Privilege Description

    27        Spinrilla_mixtapes_9_13_16.xlsx          Redacted tabs and columns contain
              [Bates PL000040477]                      investigative material the RIAA
                                                       prepared in anticipation of this lawsuit
                                                       pertaining to infringement on
                                                       Spinrilla.com and Spinrilla’s legal
                                                       noncompliance.
    67        Copy of spinrilla_original_7-24-17       Redacted text of tab contains
              (002).xlsx                               investigative material which was
              [Bates PL000046641]                      prepared after Plaintiffs filed this
                                                       lawsuit.
    68        Spinrilla Scrape 7.20.2017 – Mixtapes    Redacted tabs contains investigative or
              re DMCA DJs Tracks Analyzed per LCL      evidentiary material, which pertains to
              Declaration.xlsx                         repeated infringing activity on
              [Bates PL000040478]                      Spinrilla.com and which was prepared
                                                       after Plaintiffs filed this lawsuit.

(Id.)

         Plaintiffs’ privilege log is wholly inadequate to allow Defendants or the Court

to evaluate the validity of the assertion of the work product privilege. Meade v.



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General Motors, LLC, 250 F.Supp.3d 1387, 1393-96 (N.D. Ga. 2017) (Totenberg,

J.); Williams v. Taser Int’l. Inc., 274 F.R.D. 694, 697 (N.D. Ga. 2008); Fed. R. Civ.

P. 26(b)(5)(A)(ii) (requiring a party asserting privilege to “describe the nature of

the documents” not disclosed “in a manner that, without revealing information

itself privileged or protected, will enable other parties to assess the claim”). The

party asserting the privilege bears the burden to provide a factual basis for its

assertions. Meade, 250 F.Supp.3d at 1393; Spirit Master Funding, LLC v. Pike

Nurseries Acquisition, LLC, 287 F.R.D. 680, 684 (N.D. Ga. 2012); Carnes v. Crete

Carrier Corp., 244 F.R.D. 694, 698 (N.D. Ga. 2007). “This burden is met when

the party produces a detailed privilege log stating the basis of the claimed privilege

for each document in question, together with an accompanying explanatory

affidavit from counsel.” Meade, 250 F.Supp.3d at 1393 (quoting Carnes, 244

F.R.D. at 698); Spirit Master Funding, 287 F.R.D. at 684 (“This burden may be

satisfied through a detailed privilege log and affidavits from counsel, the party, or

the expert, and also by any of the traditional ways in which proof is produced in

pretrial proceedings.”). “The work product privilege ‘must be specifically raised

and demonstrated rather than asserted in a blanket fashion.’” Spirit Master

Funding, 287 F.R.D. at 684 (quoting Carnes, 244 F.R.D. at 698). Blanket and

general assertions of a claim of privilege do not provide sufficient detail about the

documents to enable the plaintiff or the court to determine whether the withheld

documents were privileged. Meade, 250 F.Supp.3d at 1393; Universal City Dev.

Partners, Ltd. v. Ride & Show Eng’g, Inc., 230 F.R.D. 688, 695 (M.D. Fla. 2005);


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Williams, 274 F.R.D. at 697; Digecor, Inc. v. E.Digital Corp., 2008 WL 803108 *2

(D. Utah 2008) (privilege can only be asserted as an express claim accompanied

by a detailed privilege log that can be assessed by the requesting party); Nat’l

Union Fire Ins. Co. v. Midland Bancor, Inc., 159 F.R.D. 562, 567 (D. Kan. 1994)

(general allegation of privilege insufficient; if privilege is not specified and

substantiated it may be lost); Harper v. Auto-Owners Ins. Co., 138 F.R.D. 655, 664

(S.D. Ind. 1991) (requiring the log to list, for each separate document, the authors

and their capacities, the recipients (including copy recipients) and their capacities,

the subject matter of the document, the purpose for its production, and a detailed,

specific explanation of why the document is privileged or immune from discovery).

      The court may impose as a sanction the waiver of privilege for cases of

unjustifiable delay, inexcusable conduct, and bad faith in responding to discovery

requests by improperly withholding documents on the basis of privilege, and

failing to provide an adequate privilege log in compliance with Rule 26. Meade,

250 F.Supp.3d at 1393-94; Williams, 274 F.R.D. at 697 (citing Jones v. Am. Gen.

Life and Accident Ins. Co., No. CV 101–003, 2002 WL 32073037, at *6 (S.D. Ga.

Dec. 4, 2002); Pensacola Firefighters’ Relief Pension Fund Bd. of Trustees v.

Merrill Lynch Pierce Fenner & Smith, Inc., 265 F.R.D. 589, 592 (N.D. Fla. 2010)

(noting abundance of district court case law holding that a party claiming privilege

is obliged to produce a privilege log and its failure to do so means the privilege is

waived); see also Carnes v. Crete Carrier Corp., 244 F.R.D. at 698 (stating that

proponent of privilege cannot assert privilege in blanket fashion and holding that


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the failure to specify documents in privilege log constitutes a waiver of attorney-

client privilege for those documents); Ameritrust Co., N.A. v. White, Civ. No. 1:90-

CV-2691-JEC, 1993 WL 819124, *3 (N.D. Ga. Oct. 20, 1993) (Carnes, J.) (“The

mere conclusory assertion that material sought is covered by . . . work product

privilege is not sufficient to render such material undiscoverable.”).

      Plaintiffs used broad categorical descriptions of privilege that were

uninformative. Many of these titles of the spreadsheets are indistinguishable from

the titles of the spreadsheets Plaintiffs did produce to Defendants. Plaintiffs have

failed to satisfy their burden under Fed. R. Civ. P. 26(b)(5)(A) of demonstrating

that the information is properly subject to a claim of work product privilege. The

privilege log provided is entirely useless for this purpose. And based on their

admitted track record of making overstatements to the Court, the Court declines

Plaintiffs’ implied invitation to take their word for it.

      Plaintiffs only offer the most generic arguments about why these

spreadsheets constitute protected work product, reciting the basic principles that

(a) a party may not discover documents and tangible things that are prepared in

anticipation of litigation or for trial by or for another party or its representative,

(b) that courts universally agree that a document whose purpose is to assist in

preparation for litigation is within the scope of Rule 26’s work product protection,

and (c) that litigation need not be imminent as long as the primary motivating

purpose behind the creation of the document was to aid in possible future

litigation. (Pls.’ Resp., Doc. 130 at 17-18.) Plaintiffs cite this Court’s decision in


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Spirit Master Funding, LLC and Judge May’s decision in State Street Bank & Trust

Co. v. Canal Ins. Co., and then simply assert that “Plaintiffs properly withheld

these documents as classic work product under Rule 26 – they were created by an

investigating agent for the parties, in direct anticipation of litigation, as part of a

prefiling and ongoing investigation into their claims.” (Id. at 18.)

      Plaintiffs fail to address the crux of Defendants’ arguments that because

Plaintiffs have put the data in the spreadsheets at issue via the testimony of Mr.

Linares, the documents are not properly subject to protection as work product. For

this reason, the Spirit Master Funding and State Street Bank cases are

distinguishable and do not support Plaintiffs’ arguments in support of the

application of work product to the spreadsheets. In Spirit Master Funding, this

Court concluded that the Plaintiffs’ non-testifying consulting experts’ investigative

findings and opinions provided to counsel were protected work product pursuant

to Fed. R. Civ. P. 26(b)(4)(D). There, the court rejected the defendant’s argument

that the work product protection was waived because the consulting experts’

investigations were directly at issue in the case:

      There is no indication that Spirit expressly intends to rely on the
      specific findings and results of those investigations in support of its
      claims and defenses to Pike’s counterclaims. Several experts inspected
      the property at issue and issued reports documenting the condition of
      the property which were known by Spirit at the time, including the
      Gwinnett County Building Inspector. As Spirit has not designated
      either Mr. Ramos or Mr. Hercules as testifying experts, it would
      appear that Spirit does not intend to rely on their reports to support
      its claims and defenses, but rather intends to rely on these other
      reports. However, if Spirit ultimately uses or refers to the reports of
      Mr. Ramos or Mr. Hercules in its presentation of evidence at trial or


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      summary judgment, the Court would consider anew Pike’s waiver
      contention as an appropriate argument.

Spirit Master Funding, 287 F.R.D. at 687, n.5. Similarly, in State Street Bank,

Judge May noted that unlike the situation before her court, where a party places

privileged information at issue by relying on the information in support of its claim

or defense, the work product privilege may be waived. State Street Bank & Tr. Co.

v. Canal Ins. Co., 1:14-CV-2080-LMM, 2015 WL 11347587, at *2 (N.D. Ga. Sept.

23, 2015) (citing Cox v. Administrator U.S. Steel & Carnegie, 17 F.3d 1386, 1417

(11th Cir. 1994) (“[T]he attorney-client privilege is waived when a litigant places

information protected by it in issue through some affirmative act for his own

benefit.”), and QBE Ins. Corp. v. Jorda Enter., Inc., 286 F.R.D. 661, 664 (S.D. Fla.

2012) (“The waiver-by-affirmative-reliance doctrine arises in both the attorney-

client privilege and work-product doctrine scenarios.” (citing In re EchoStar

Commc'ns Corp., 448 F.3d 1294, 1301 (Fed. Cir. 2006))).

      “The privilege derived from the work-product doctrine is not absolute.”

United States v. Nobles, 422 U.S. 225, 239 (1975). The work product privilege

provides only a qualified immunity from discovery. Spirit Master Funding, 287

F.R.D. at 684. As the esteemed Professor Wright noted:

      It protects only documents and tangible things. It does not protect
      facts learned from the documents or things. There is no shield against
      discovery, by interrogatories or by deposition, of the facts that the
      opponent has acquired, or the person from whom he obtained the
      facts, or the existence or nonexistence of documents, even though the
      documents themselves have a qualified immunity from discovery.




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Lott v. Seaboard Systems Railroad, Inc., 109 F.R.D. 554 (S.D. Ga. 1985) (quoting

Wright, The Law of Federal Courts, § 82, at 556 (4th ed. 1983) and 8 Wright and

Miller, Federal Practice and Procedure § 2023.4. The protections of Rule 26(b)(3)

do not prevent discovery of facts relevant to an action. Id. (citing cases); Spirit

Master Funding, 287 F.R.D. at 687 (“underlying facts do not enjoy the protection

of the work product doctrine”); AAB Joint Venture v. U.S., 75 Fed.Cl. 448, 454

(2007) (“Although the work product privilege protects work product created by the

attorney, the privilege does not protect facts contained within or underlying

attorney work product.”); cf. Hickman v. Taylor, 329 U.S. 495, 513 (1947)

(discussing pre-Rule 26(b)(3) denial of discovery into what is effectively both

opinion and fact work product, and noting that such denial will not “unduly

hinder” the petitioner in “the discovery of facts”).

      As work product is a “qualified privilege,” it can thus be waived “when the

covered materials are used in a manner that is inconsistent with the protection.”

Kallas v. Carnival Corp., No. 06-20115, 2008 WL 2222152, 2008 A.M.C. 2076,

2081 (S.D. Fla. May 27, 2008) (quoting Bank of Am., N.A. v. Terra Nova Ins. Co.,

212 F.R.D. 166, 170 (S.D.N.Y. 2002)). “Clearly a witness cannot offer testimony

based on documents that he or she simultaneously claims are protected by the

work product privilege.” Id.; see also In re Kidder Peabody Sec. Litig., 168 F.R.D.

459, 472-73 (S.D.N.Y. 1996) (party cannot use work product as a sword and at the

same time invoke the work product doctrine as a shield to prevent disclosure of the

same or related materials); Harding v. Dana Transport, Inc., 914 F. Supp. 1084,


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1098 (D.N.J. 1996) (“litigants must not manipulate the work product doctrine for

their own benefit by attempting to selectively disclose their attorney’s work

product.”). The “[t]estimonial use of work product is a classic example of an

inconsistent use of materials that belie continuing work product protection.”

Kallas, 2008 WL 2222152, 2008 A.M.C. at 2081; Nobles, 422 U.S. at 239.

Therefore, when the party claiming the privilege elects to use an investigator as a

witness to present testimony about his investigation and then attempts to prevent

discovery of materials prepared by the investigator on the subject of his testimony,

this waives the privilege with respect to matters covered by the testimony. Nobles,

422 U.S. at 239; Kallas, 2008 WL 2222152, 2008 A.M.C. at 2082.

      Plaintiffs can either immediately turn over complete unredacted copies of all

68 spreadsheets to Defendants or be precluded from offering any testimony or

other evidence at trial based on any of the data in those spreadsheets. To the extent

Plaintiffs legitimately contend that some portion of the spreadsheets contain pure

opinion work product, they may seek leave to provide that portion to the Court for

in camera review to determine whether to compel their production to Defendants.

Plaintiffs are advised, however, that the Court will not look favorably on any

overreaching as to what constitutes opinion work product as opposed to facts

which are clearly discoverable. If Plaintiffs elect to seek leave to provide these

select documents for in camera review, they must NOTIFY THE COURT of the

volume of documents to be submitted WITHIN 5 DAYS of this order and the

Court will set a schedule for the production.


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      For these reasons, Defendants’ Motion for Sanctions [Doc. 100] is therefore

DENIED with respect to the request for dismissal and GRANTED with respect

to the request for other lesser sanctions. The Court will reopen discovery for a

period of 60 days, beginning on October 8, 2018, to allow for the additional

depositions and discover requests addressed in Section I(C)(3) supra.

II.   Plaintiffs’ Motion for Leave to File Motion to Compel [Doc. 133]

      While Defendants’ sanctions motion was pending, Plaintiffs moved for leave

to file a motion to compel production of various outstanding discovery materials

from Defendants. Plaintiffs filed their motion for leave in lieu of following this

Court’s procedure for efficient presentation of discovery disputes to avoid delays

in discovery caused by formal, lengthy motions practice. (See Standing Order, Doc.

5, at 20-21.) After reviewing the parties’ briefs, there is no good reason these

discrete disputes could not have been raised via the Consolidated Discovery

Dispute Statement format required by the Court’s Standing Order. While the Court

accepts a hefty portion of the blame for the significant delay in resolving the glut

of issues slathered on the Court by the parties, Plaintiffs’ conduct in seeking to

bypass this Court’s standard procedures is not acceptable. That said, in the interest

of efficiency, the Court will rule on the Plaintiffs’ pending motion.

      For the following reasons, the Court GRANTS Plaintiffs’ Motion for Leave

to File Motion to Compel [Doc. 133], and GRANTS IN PART and DENIES IN

PART Plaintiffs’ Motion to Compel [Doc. 134-2].




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       A. Potentially Infringing Sound Recordings

       Plaintiffs’ motion, filed on October 27, 2017, seeks to compel: (1) the actual

sound recordings Defendant Copeland identified as having been blocked from the

Spinrilla website after being flagged by Audible Magic as containing copyrighted

material; and (2) data associated with these sound recordings.

       Over a month after briefing on this motion was complete, on December 14,

2017, Defendants produced a hard drive containing the MP3 audio files for 98,675

sound recordings identified as having been blocked by Audible Magic.

Accordingly, as the audio recordings have been produced, although belatedly,

Plaintiffs’ Motion to Compel the audio recordings is DENIED AS MOOT.

       In response to Plaintiffs’ motion for the data associated with the sound

recordings, on October 27, 2017, Defendants produced an Excel spreadsheet

containing a list of 98,675 “hidden and/or blocked” sound recordings, including

the following data fields: (1) uploader name, (2) mixtape title, (3) track title, (4)

artist name, (5) duration, (6) stream count, (7) download count, and (8) upload

date. (Defs.’ Resp., Doc. 138 at 2; Declaration of Kaitlyn Hasse, Doc. 138-1 ¶¶ 1-

22.)

       In their Reply, Plaintiffs assert that the spreadsheet is deficient in two

respects. First, Plaintiffs contend the spreadsheet does not contain all of the data

that Defendants have in their possession for the sound recordings, specifically it

omits the “file name” of each sound recording and whether each sound recording




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received an Audible Magic flag.17 Second, Plaintiffs contend that because the

spreadsheet is marked “highly confidential,” counsel cannot share it with

Plaintiffs, whose access to the spreadsheet is essential to the determination of

additional infringements.

       These issues also appear to be moot.

       First, on November 6, 2017, Defendants produced a “revised” spreadsheet

containing “additional data” for the 98,675 audio files.                  (February 13, 2018,

Declaration of Scott Wilkens, Doc. 178-2 ¶ 9.) According to the February 13, 2018

declaration of Plaintiffs’ counsel, Scott Wilkens, (attached to an unrelated brief)

the only complaint Plaintiffs had regarding the revised spreadsheet was that it was

lacking information regarding whether the audio files were “featured” or

“sponsored” on Spinrilla. (Id. ¶ 10.) No further disputes appear to have persisted

regarding the information at issue in the motion to compel, which sought to

compel “metadata,” not information about whether the audio files were “featured”

or “sponsored.”

       Second, on April 11, 2018, Plaintiffs moved for leave to amend Exhibit A to

their Complaint to add 2,000 newly discovered works in suit. Plaintiffs were able

to determine these alleged infringements from a review of Defendants’ production


17As the Court understands it, this spreadsheet was the listing of sound recordings that had been
blocked by Audible Magic; therefore, all the sound recordings would have been flagged by Audible
Magic. Indeed, Plaintiffs’ own motion states Mr. Copeland explained “Spinrilla disabled from
public access approximately 46,000 sound recordings because they were identified as potentially
infringing by Audible Magic” and that “these recordings were identified during a ‘legacy scan’ of
Spinrilla’s back catalog (all sound recordings available on Spinrilla at that time).” (Doc. 134-2 at
7; 9 (“By Mr. Copeland’s admission, these recordings were caught by Audible Magic during a
scan. . .”) (emphasis added.)

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of the 98,000 blocked sound recordings, by running the audio files through

Audible Magic. (See Pls.’ Mot., Doc. 195.) Accordingly, the designation of the

spreadsheet as “Highly Confidential” does not appear to have prevented Plaintiffs

from determining additional infringements.

      Accordingly, Plaintiffs’ Motion to Compel regarding the spreadsheet is

DENIED AS MOOT.

      B. Source Code Related to Audible Magic

      On August 28, 2017, the Court ordered Defendants “to produce, as agreed,

the text version of the source code as it relates to the implementation of Audible

Magic.” (August 28, 2017 Order, Doc. 58 at 12.) The Court further ordered the

deposition of Defendant Copeland to provide testimony “regarding Spinrilla’s

software operations in connection with the detection, blocking, and reporting of

copyrighted material and the implementation of Spinrilla’s software interface with

Audible Magic.” (Id.) In response to the Court’s Order, Defendants produced a

three-page PDF excerpt of code, which Plaintiffs found to be insufficient to explain

how Spinrilla implements Audible Magic to identify and block potentially

infringing content from its website.     Plaintiffs raised these concerns at the

September 19, 2017 discovery hearing, but before taking the deposition of

Defendant Copeland. Therefore, the Court declined to issue any further rulings

regarding the source code at that time, unless or until Defendant Copeland’s

testimony was shown to be insufficient to address Plaintiff’s questions.




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       Plaintiffs contend that Defendants have failed to produce the full version of

the source code for Audible Magic implementation. (Pls’ Mot., Doc. 134-2 at 11-

13.) According to Plaintiffs, Mr. Copeland admitted at his deposition that he may

have removed lines of code and/or comments from the excerpt that was produced.

(Id. at 11) (citing Copeland Dep. at 65-67.) In response, Plaintiffs requested the full

version of the source code excerpt, “without deletions of any lines of code or

comments.” (Id.) (citing Ex. 9 to Wilkens Decl., Doc. 136-2 at 2-3.) Plaintiffs also

assert that Defendants have failed to produce all modified portions of the source

code identified as having been changed by Mr. Copeland during his deposition.

Plaintiffs assert that, as of October 27, 2017, Defendants had not produced the full

version of the source code excerpt in response to this request and had not produced

a “version control log” confirming whether or not Mr. Copeland in fact made

changes to the excerpt of the source code that was produced. (Id.)

       With regard to deletions or changes to the source code, Mr. Copeland

testified:

       Q. Were any lines removed in preparing this document?

       A. Not that I can think of.

       Q. Were any programmer comments removed in preparing this
       document?

       A. I'm not sure. I'd have to go back and check. Is there none in here?
       I'm not sure.

       Q. How would you find out -- be able to find out whether there were
       lines or comments removed?



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      A. I'd just look at the source code and see.

      Q. Has this code changed over time?

      A. Yes. So the -- the hop rate went down, the last line, down to 60 to
      essentially just scan more of the song. Let's see. The -- the caching
      stuff probably changed, too, with use just like the cache keys. That's
      probably about it that I can recall.

(Copeland Dep. at 66-67.)      In email correspondence with Plaintiffs’ counsel

subsequent to the deposition, counsel for Defendants informed Plaintiffs:

      For the additional code, Defendants provided source code showing
      implementation of Type 4, Encore Processing, and the section of code
      that shows where in the Spinrilla upload/publishing process the
      Audible Magic check occurs. It is our understanding that Mr.
      Copeland reviewed the Type 3 portion of code that was previously
      produced and Spinrilla’s repository and there were no deletions made
      to the original Type 3 provided to Plaintiffs. However, we will double
      check this again with Mr. Copeland. Mr. Copeland is also going to
      provide a change log, which will show any changes made to the source
      code module that was previously produced (i.e. the portion showing
      Spinrilla’s implementation of Audible Magic’s Type 3 service).

(Ex. 9 to Wilkens Decl., Doc. 136-2 at 2-3) (emphasis added). However, no further

communications appear in the record, and Defendants have not squarely

addressed these issues other than to say, “Defendants produced additional Audible

Magic source code to Plaintiffs on October 12, 2017; therefore the issue is

resolved.” (Defs.’ Resp., Doc. 138 at 3.) It appears that Mr. Copeland had not made

any deletions to the source code produced and had agreed to provide a change log,

as requested. However, it is unclear whether Defendants’ counsel ever actually

followed up on these issues. Thus, Plaintiff’s Motion to Compel is GRANTED to

the extent there remains live disputes about whether Defendants ever confirmed



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that the source code provided in fact did not contain any deletions or whether

Defendants failed to produce the change log as promised. Unless they have already

done so, Defendants are ORDERED to (a) either confirm there were no deletions,

or alternatively, produce the text version of the source code documenting any

deletions, (b) to produce the change logs for the portion of the source code related

to Audible Magic WITHIN 14 DAYS of this Order, and (c) to produce any

modified version of the source code as referenced by Mr. Copeland in his

deposition WITHIN 14 DAYS of this Order.

      Finally, Plaintiffs assert that Defendants have failed to produce source code

showing at what point during the upload of a sound recording an Audible Magic

check occurs, i.e. whether Audible Magic scans an uploaded sound recording

before or after that sound recording is made public on Spinrilla. (Pls.’ Mot., doc.

134-2 at 12; Pls.’ Reply, Doc. 141 at 5.) According to Plaintiffs “[t]his module of

source code is critically important, because it will show whether Defendants

allowed sound recordings to become publicly available on Spinrilla for streaming

and/or download before running an Audible Magic scan.” (Pls.’ Mot., doc. 134-2

at 12.) In support of their request, Plaintiffs point to Mr. Copeland’s testimony that

the three-page excerpt of source code that Defendants provided is called on by

other parts of Spinrilla’s source code:

      Q. What other modules of code call on the code in Exhibit 56?

      A. It's -- so there's like the framework that it's built on, like it's set up
      so that this calls after a track is made. It's like one line that just says
      like after this is made, then this gets called, Exhibit 56.


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      Q. So this -- there -- there will be code showing when the code in
      Exhibit 56 is called?

      A. To some extent, yes.

      Q. Is there a name for that module of code?

      A. Yeah. The method is just called like "after create."

(Copeland Dep. 79:2-80:14.)

      Defendants respond that after the deposition, on October 12, 2017

Defendants produced additional source code related to implementation of Audible

Magic, including: (1) source code demonstrating how Spinrilla runs a back-catalog

scan through Audible Magic; (2) code that is used to scan a song through Audible

Magic’s services, which included Audible Magic Type 4 implementation along with

programming comments; (3) code that calls the Audible Magic scan when a new

song is created on the Spinrilla site; and (4) code for implementation of Audible

Magic Encore Processing service. (Haase Decl., Doc. 138-1 ¶ 7) (emphasis added).

In addition, Mr. Copeland testified that

      Q. Now, when you first implemented Audible -- Audible Magic, where
      in the Spinrilla work flow was the identification request to Audible
      Magic made?

      A. After a track was uploaded. Is that what you're talking about?

      Q. Yes. So the identification request to Audible Magic would be made
      after the track was uploaded?

      A. Yep.

      Q. Was it made before the track was made public?



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      A. Yes.

      Q. Were there cases in which a track would be made public before an
      Audible Magic check?

      A. No, there shouldn't be. Not that I can think of.

(Copeland Dep. at 52-53.) He further explained during his deposition where this

implementation appears in the source code that was produced:

      Q. (By Mr. Wilkens) Does this code show whether a file is checked by
      Audible Magic before it's made public on the Spinrilla website?

      THE WITNESS: Yeah. So, I mean, it's all -- that first line on the last
      page, that's the -- the juicy piece.

      Q. (By Mr. Wilkens) This is the line that begins with "track.update..."?

      A. Yep.

      Q. And can you please explain what that line of code does?

      THE WITNESS: That changes the flag from null, what it starts out as,
      to either true or false.

      Q. (By Mr. Wilkens) And -- and what is the impact of changing the flag
      to true or false?

      A. It determines whether or not the page will work and the song will
      work.

      Q. If -- if it's true, the song will work, and if it's –

      A. Yes.

      Q. Is there other code that shows what you just testified to, what
      happens when there's a true or a false?

      THE WITNESS: Yes.

      Q. (By Mr. Wilkens) What is the module -- what is the -- that source
      code module called?


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A. I have no idea -- off the top of my head.

Q. (By Mr. Wilkens) Does this code show what happens to a file that
the Audible Magic check shows is a match?

A. Yes.

Q. And where does it show that?

A. It's about halfway down, middle page, "if (id_status==2006)."

Q. And can you explain in layman's terms what this code does?

A. Yeah. So if Audible Magic finds a match, it says 2006. And so we
basically say, "Audible Magic, did you find a match?" And if it does,
then it continues execution into the block below it.

Q. And if it doesn't find a match, what happens then?

A. It keeps scanning until it does. And if it doesn't at all, then it just
marks the flag as being compliant.

Q. And does this code show how much of an audio file is checked for
an Audible Magic match?

A. Yep.

Q. Where is that?

A. "lookup_count...," almost at the bottom of the last page -- or first
page. Sorry.

Q. And so according to this, again in layman's terms, how much of the
file is checked?

A. How much? It depends on the length.

Q. Okay. Can you explain how that – how that works, depending on
how long a song is, how much is checked?

A. Yeah. So according to Audible Magic, you have to skip the first 35
seconds, so that's why it subtracts that, and then it just divides it by a


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      minute, since that's what the hop rate is. So if there's a three-minute
      song, it will get scanned twice, assuming there's no match the first
      time.

(Id. at 68-71.)

      As it appears to the Court that the information Plaintiffs requested has been

produced, either via the additional source code text or via the testimony of Mr.

Copeland, Plaintiffs’ Motion to Compel this portion of the source code is DENIED.

      C. Social Media and Text Communications

      Mr. Copeland testified that his primary method of communication with

Spinrilla artists and users was through his various social media accounts. However,

Defendants have failed to produce copies of all private communications via social

media channels with their DJs.

      Defendants hired a vendor to facilitate this process, but the vendors

encountered problems with the Twitter, Instagram and Facebook software for

private messaging and were unable to capture all messages. Defendants’ vendors

contend that the only way to obtain the thousands of remaining messages is to do

a manual screenshot of each message. The vendors estimate that this search would

take 20-46 hours to complete at an hourly rate of $350/hour for a total cost of up

to $16,000. (See Haase Decl. ¶¶ 13-24.) Defendants assert that engaging in this

screenshot collection is an overly burdensome endeavor which is not proportional

to the claims in the case because the burden and expense of the discovery

outweighs its likely benefit. Defendants contend that the “social media posts on

each page have already been produced” but fail to explain what this means or how


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these “posts” are an adequate substitute for what the Court understands are

separate private communications.

      The Court finds that Defendants have failed to demonstrate undue burden

based on the expense associated with conducting the screenshot search and

collection.   The financial information in the record for each Defendant

demonstrates that the cost for the search is not significant or substantial in

comparison to the Defendants’ “healthy” financial condition.          Accordingly,

Plaintiffs’ Motion to Compel the social media communications is GRANTED.

Defendants are ORDERED to produce the screenshots WITHIN 14 DAYS of

this Order. In the event the search and production costs turn out to exceed

$20,000, Defendants can request that the Court allocate some measure of the costs

beyond $20,000 to Plaintiffs.

      According to Plaintiffs’ motion, Defendants have also failed to produce

copies of Mr. Copeland’s text messages with DJs and other Spinrilla employees.

Defendants’ response to the motion is silent on the issue of the production of text

messages.     Accordingly, Plaintiffs’ Motion to Compel the text messages is

GRANTED. Defendants are ORDERED to produce copies of all responsive text

messages WITHIN 14 DAYS of this Order.

      D. Operating Agreement

      In response to Plaintiffs’ Request for Production No. 25, Defendants

produced a redacted copy of Spinrilla’s Operating Agreement.         According to

Defendants, “the only redactions made were to attorney-client communications


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between Spinrilla and its corporate counsel that were contained within the

document.” (Haase Decl., Doc. 138-1 ¶¶ 9-10.) Defendants contend they do not

possess a version of the Operating Agreement that does not contain these

communications. (Ex. A to Haase Decl., Doc. 138-1 at 8.) Spinrilla’s corporate

counsel has been unable to locate a “clean version” of the Operating Agreement.

(Id.) Defense counsel “requested Spinrilla’s corporate counsel sign an affidavit

explaining the nature of the comments and his inability to locate the clean

document,” but no affidavit was produced in conjunction with Defendant’s

response. (Id.)

      Defendants are ORDERED to produce an unredacted copy of the Operating

Agreement to the Court for in camera review to determine the nature of the

redactions and whether they are properly designated as attorney-client

communications WITHIN 14 DAYS of this Order. The Court will therefore

reserve ruling on this portion of Plaintiffs’ Motion to Compel pending review of the

unredacted version of the document.

      For the foregoing reasons, Plaintiffs’ Motion to Compel [Doc. 134-2] is

GRANTED IN PART and DENIED IN PART.




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III.   Plaintiffs’ Motion for Leave to Amend Exhibit A to the Amended
       Complaint [Doc. 194]18

       Plaintiffs have consistently represented to both Defendants and this Court

their intention to amend the list of “works in suit” which they allege Defendants to

have infringed by posting their copyrighted sound recordings on Spinrilla without

Plaintiffs’ consent (i.e. Exhibit A) once they had identified the universe of

Spinrilla’s content.    In their original Complaint, Plaintiffs alleged they had

“identified over 21,000 sound recordings, the copyrights to which are owned or

exclusively controlled by Plaintiffs, that are available on Spinrilla.com and the

Spinrilla apps,” but provided a “non-exhaustive, illustrative sampling” in Exhibit

A of only 201 allegedly infringing sound recordings. On September 19, 2017, the

Court granted Plaintiffs leave to amend Exhibit A to identify an additional 2,043

sound recordings to the “non-exhaustive, illustrative sampling of works in suit.”

However, at the September 2017 discovery hearing, at Defendants’ urging, the

Court advised there would come a time when Plaintiffs would be cut off from

perpetual amendments and would be required to provide a final list of the allegedly

infringing songs. That time has come.

       On April 11, 2018, Plaintiffs moved for leave to amend Exhibit A to the

Amended Complaint to add approximately 2,000 “newly discovered works in suit,”

following Defendants’ production of over 98,000 audio files which had been



18The Court DENIES AS MOOT Defendants’ Motion to Stay Ruling on Plaintiffs’ Motion for
Leave to Amend Exhibit A to the Amended Complaint pending the Court’s ruling on the Motion
for Sanctions [Doc. 197].

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blocked by Audible Magic. Defendants vehemently oppose Plaintiffs’ claiming it is

too late to do so over five months after the close of discovery. However, the Court

agrees with Plaintiffs that the delay in seeking the amendment was due primarily

to Defendants’ belated production of the sound recordings in December 2017,19

produced eight months after they were first requested and three months after the

Court ordered them to get working on the production. Defendants’ delay is entirely

unjustified and inexcusable.

       Accordingly, the Court finds that Plaintiffs’ amendment is timely and should

be GRANTED. However, as there must be some end in sight to the potential

extent of the Defendants’ alleged liability, the Court will not allow further

amendments and will hold Plaintiffs to this final list.

IV.    Defendant’s Motion for Summary Judgment [Doc. 173]20

       In the midst of all this sound and fury, Defendants moved for summary

judgment in their favor on both counts of Plaintiffs’ Complaint for direct and

secondary copyright infringement. The motion is four and a half pages. It contains

a single paragraph of argument applying “law to facts.” Defendants’ Statement of

Facts, under Local Rule 56.1(B), consists entirely of the following “facts”:


19 Plaintiffs engaged in a lengthy and time-consuming process to compare Defendants’ audio
recordings to Plaintiffs’ library of copyrighted music.
20 Plaintiffs’ Motion to Strike Defendants’ Untimely and Overlength Summary Judgment Reply

Brief [Doc. 187] is DENIED. The Court will not strike Defendants’ Reply because it was filed one
day late and is two pages over the permitted page length. However, Defendants are admonished
that the Court expects Defendants to abide by this Court’s deadlines and page limitations in the
future. The Court DENIES AS MOOT Defendants’ Motion to Stay Briefing on Plaintiffs’ Motion
to Strike [Doc. 190] and Defendants’ Motion for Leave for Court to Accept Reply Brief Out-of-
Time [Doc. 191]. Plaintiffs’ alternative Motion for Leave to File a Surreply [Doc. 187] is
GRANTED.

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           1. The Amended Complaint alleges that both Defendants copied
           works owned or controlled by at least one Plaintiff. (Amended
           Complaint, Dkt. 91-1, Counts 1, 2).

           2. Plaintiffs have failed to provide any evidence that any work they
           own or control has been directly or indirectly copied by either
           Defendant. (Declaration of David M. Lilenfeld, ¶ 4).

(Doc. 173-1.)    In support of their motion, Defendants rely entirely on the

unsubstantiated opinion of their lead litigation counsel that “Plaintiffs have not

provided any evidence that any work they own or control has been directly or

indirectly copied by either Defendant.” (Lilenfeld Decl., Doc. 173-2 ¶ 4). Because

“copying” is a prima facie element of a claim for copyright infringement, and

because “Plaintiffs have failed to provide any evidence that either Defendant

directly or indirectly copied any work owned or controlled by any Plaintiff,”

Defendants argue they are entitled to summary judgment. (Defs.’ Mot., Doc. 173

at 3-5.)

      Taking their duty on summary judgment seriously, Plaintiffs filed a

substantive response to Defendants’ meager motion. Plaintiffs characterize

Defendants’ motion as “baffling” and “utterly groundless.” (Pls.’ Resp., Doc. 178 at

2-3.) This Court is hard pressed to disagree.

      Defendants have failed to come close to satisfying their burden on summary

judgment. As Defendants’ motion literally lacks any basis in law or fact, it is

DENIED.




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V.    CONCLUSION

      While the conduct in this case does not rise to the level of the circumstances

in Malautea, the Court is stirred to repeat here the Eleventh Circuit’s concluding

sentiment in Malautea:

      All attorneys, as “officers of the court,” owe duties of complete candor
      and primary loyalty to the court before which they practice. An
      attorney's duty to a client can never outweigh his or her responsibility
      to see that our system of justice functions smoothly. This concept is as
      old as common law jurisprudence itself. In England, the first licensed
      practitioners were called “Servants at law of our lord, the King” and
      were absolutely forbidden to “decei[ve] or beguile the Court.” . . .
      Unfortunately, the American Bar Association's current Model Rules
      of Professional Conduct underscore the duty to advocate zealously
      while neglecting the corresponding duty to advocate within the
      bounds of the law. As a result, too many attorneys have forgotten the
      exhortations of these century-old canons . . . We must return to the
      original principle that, as officers of the court, attorneys are servants
      of the law rather than servants of the highest bidder. We must
      rediscover the old values of our profession. The integrity of our justice
      system depends on it.

Malautea v. Suzuki Motor Co., Ltd., 987 F.2d 1536, 1546–47 (11th Cir. 1993).

      The Court’s rulings on the pending motions addressed in this Order are

summarized below:

Defendants’ Motion for Sanctions [Doc. 100]      GRANTED IN PART and DENIED
                                                 IN PART
Plaintiffs’ Motion for Leave to File Motion to GRANTED
Compel [Doc. 133]
Plaintiffs’ Motion to Compel [Doc. 134-2]        GRANTED IN PART and DENIED
                                                 IN PART
Plaintiffs’ Motion for Leave to File Surreply in GRANTED
Opposition to Defendants’ Motion and Brief
for Sanctions [Doc. 146]
Defendants’ Motion for Summary Judgment DENIED
[Doc. 173]



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Plaintiffs’ Motion to Strike Reply Brief [Doc.   DENIED
187]
Plaintiffs’ Motion for Leave to File Surreply    GRANTED
[Doc. 187]
Defendants’ Motion to Stay Briefing on           DENIED AS MOOT
Plaintiffs’ Motion to Strike [Doc. 190]
Defendants’ Motion for Leave for Court to        DENIED AS MOOT
Accept the Defendants’ Out-of-Time Reply
Brief [Doc. 191]
Plaintiffs’ Motion for Leave to Amend Exhibit    GRANTED
A to Amended Complaint [Doc. 194]
Defendants’ Motion to Stay Ruling on             DENIED AS MOOT
Plaintiffs’ Motion for Leave to Amend Exhibit
A to Amended Complaint [Doc. 197]

      Finally, the Court will reopen discovery for a period of 60 days, beginning

on October 8, 2018, to allow for the additional depositions and discovery requests

addressed in Section I(C)(3) supra.

      IT IS SO ORDERED this 28th day of September, 2018.


                                      ___________________________
                                      AMY TOTENBERG
                                      UNITED STATES DISTRICT JUDGE




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